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                                                    April 8, 2024


  Via ECF

  Honorable Claire C. Cecchi
  United States District Judge
  United States District Court                                                                                        ALBANY
   for the District of New Jersey                                                                                     AMSTERDAM
  Martin Luther King Courthouse                                                                                       ATLANTA

  50 Walnut Street                                                                                                    AUSTIN

  Newark, New Jersey 07102                                                                                            BOSTON
                                                                                                                      CHICAGO

            Re:       Juice Entertainment, LLC, et al. v. Live Nation Entertainment,                                  DALLAS

                      Inc., Civil Action No. 11-CIV-7318 (CCC) (CLW)                                                  DELAWARE
                                                                                                                      DENVER
                                                                                                                      FORT LAUDERDALE
                               REQUEST FOR LEAVE TO FILE
                                                                                                                      HOUSTON
                               REPLY ON MOTIONS IN LIMINE
                                                                                                                      LAS VEGAS
                                                                                                                      LONDON*
  Dear Judge Cecchi:                                                                                                  LOS ANGELES
                                                                                                                      MEXICO CITY+
          Live Nation is writing to request leave to file a short reply brief in further support                      MIAMI
  of its motions in limine (ECF # 141). At the Court’s suggestion, the parties’ proposed                              MILAN**
  briefing schedule on Live Nation’s motions in limine (see ECF # 140) did not provide Live                           NEW JERSEY
  Nation with a right to reply although ordinarily it would be afforded such right under the                          NEW YORK
  Rules. However, Plaintiffs’ opposition to the motions (see ECF # 142) contains several                              ORANGE COUNTY

  significant misstatements or mischaracterizations of law and fact. Because it is uncertain                          ORLANDO

  whether the Court will grant the parties oral argument at which those issues can be                                 PALM BEACH

  addressed, Live Nation respectfully requests leave to file a short reply brief, in which to                         COUNTY

  address these issues, as follows:                                                                                   PHILADELPHIA
                                                                                                                      PHOENIX

       I.         Incorrect Legal Assertions                                                                          ROME**
                                                                                                                      SACRAMENTO
                                                                                                                      SAN FRANCISCO
           Plaintiffs erroneously rely on several cases for the premise that even if “lost profits”
                                                                                                                      SHANGHAI
  damages are barred by prior orders, Plaintiffs still can still offer the evidence, dressed up                       SILICON VALLEY
  under a different name -- “expectation damages” – in connection with their claim in Count                           TALLAHASSEE
  II for tortious interference with business relations. See Opp. Br. at pp. 6-7. The cases on                         TAMPA
  which Plaintiffs rely however involve claims for breach of contract, for which expectation                          TEL AVIV^
  damages may be an appropriate remedy. The cases do not discuss, concern or relate in any                            TYSONS CORNER
  way to whether expectation damages constitute an appropriate remedy on a claim, such as                             WARSAW~
                                                                                                                      WASHINGTON, D.C.
                                                                                                                      WHITE PLAINS
                                                                                                                      * OPERATES AS GREENBERG
                                                                                                                        TRAURIG MAHER LLP
                                                                                                                      +
                                                                                                                           OPERATES AS GREENBERG
                                                                                                                           TRAURIG, S.C.
                                                                                                                      ^A BRANCH OF
  GREENBERG TRAURIG, LLP  ATTORNEYS AT LAW  WWW.GTLAW.COM                                                            GREENBERG TRAURIG, P.A.
  500 Campus Drive, Suite 400  Florham Park, New Jersey 07932  Tel 973.360.7900  Fax 973.301.8410                   FLORIDA, USA
  ACTIVE 685629116v5                                                                                                  ~
                                                                                                                           OPERATES AS GREENBERG
                                                                                                                           TRAURIG GRZESIAK sp.k.
                                                                                                                      **
                                                                                                                           STRATEGIC ALLIANCE
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  Plaintiffs assert here, for tortious interference with business relations. 1 The issue of
  whether “expectation damages” are available in contract claims is wholly irrelevant here,
  where Plaintiffs do not have a viable claim for breach of contract; nor have they asserted
  one and Plaintiffs’ reliance on these cases is wholly misplaced. See generally Amended
  Complaint (ECF # 24). 2

      II.       New Factual Assertions and Mischaracterizations


        Plaintiffs then argue that even if lost profits are excluded, they should be allowed to
  present evidence in support of an award of “compensatory damages” through lay
  testimony, and they offer deposition excerpts and a handful of documents that they claim
  support this premise (for reasons briefly touched upon below, these new “facts” do not

            Atacs Corp. v. Trans World Communs., 155 F.3d 659 (3d Cir.1998) (decided under
            1

  Pennsylvania law), involved a claim for breach of contract and the court held that expectation
  damages are available to a plaintiff asserting a breach of contract claim under Pennsylvania law.
  Goldfarb v. Solimine, 245 A.3d 570 (N.J. 2021), involved a suit against an employer who reneged
  on a promise of employment after the plaintiff had quit his job to accept the promised position.
  Plaintiff alleged promissory estoppel and breach of contract claims – not a claim for tortious
  interference. Mister Softee, Inc. v. Omar, 2023 WL 6619637, (D.N.J. Oct. 11, 2023) was an action
  for default judgment by franchisor against an ice cream truck franchisee in which the court was
  asked to assess default damages arising from breach of a royalty obligation in the parties’ franchise
  agreement on the franchisor’s breach of contract claim. Golden Corral Fran. Sys., Inc. v. Scism,
  2021 WL 4490233, (D.N.J. Oct. 1, 2021), also was a breach of contact action arising from breach
  of a franchise agreement. Thus, as in each of Plaintiffs’ other cases, the court’s discussion of the
  availability of expectation damages to a plaintiff in breach of contract claim is wholly irrelevant.

            Plaintiffs also improperly rely upon Zippertubing Co. v. Teleflex Inc., 757 F.2d 1401 (3d
            2

  Cir. 1985) (see Opp. Br. at p. 7) to argue that the equitable remedy of disgorgement can be used
  here an alternate theory of damages. Although Zippertubing did involve an interference claim, it
  arose when one competitor diverted an opportunity to itself and the plaintiff sought to disgorge
  profits the defendant gained from the diversion. The case however is wholly inapplicable here.
  For among other reasons, Plaintiffs allege that Live Nation’s interference caused SFEM to cancel
  its contract with Plaintiffs, depriving Plaintiffs of the opportunity to put on concerts at the State
  Fair site; Plaintiffs do not allege that Live Nation then seized upon that opportunity to put on
  concerts at the State Fair and it is beyond dispute that Live Nation did not do so. See generally
  Amended Complaint (ECF # 24). There is nothing therefore to “disgorge” from Live Nation
  because Live Nation derived no benefit from the cancellation of the contract between Plaintiff and
  SFEM; nor did Plaintiffs so allege. Id. Moreover, Plaintiffs’ Amended Complaint does not assert
  any equitable claims, nor does it allege any theory that could give rise to the equitable remedy of
  disgorgement and obviously no such claim is made therein. Id. Finally, Plaintiffs make no
  mention of this theory anywhere in the Final Pretrial Order (ECF # 133).


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  support a damages claim against Live Nation). As for the “facts,” Exhibits A and B of the
  Smith Certification in support of Plaintiffs’ opposition to the motions in limine (ECF #
  144-1) are deposition excerpts offered for the premise that “Plaintiffs spent hundreds of
  thousands of dollars as part of their efforts to promote the 2011 State Fair, refute the lies
  being spread by Live Nation, and save their agreement with SFEM.” See Opp. Br. at p. 11.
  Exhibit C of the Smith Certification is offered as evidence of additional alleged “damages,”
  which even if given credence, would give rise to a compensatory award in the total amount
  of $3,705.07 – and are comprised of a legal invoice for $750, an invoice for services from
  “DJ Ricardo” for $340, a receipt for flights, hotel and car rental for $1,565.07 and an email
  that appears to be about website services for $300. Smith Cert., Ex. C.

          a. The “Facts” Concerning these Alleged Compensatory Damages Are Not Even
             Identified in the Final PTO

          Notably, Plaintiffs did not disclose any of these “facts” that Plaintiffs claim could
  support a claim for compensatory damages in the Final Pretrial Order entered by the Court
  over a year ago on February 28, 2023, in which the parties were obligated to identify all of
  the facts they intended to establish at trial (either by stipulation or through proofs) and
  which further provided that: “Proof shall be limited at trial to the matters set forth below.
  Failure to set forth any matter shall be deemed a waiver thereof.” See ECF # 133 at p. 6.
  The disclosed facts that Plaintiffs advised the Court they intended to establish at trial were
  set forth in Sections 3.A (Plaintiffs’ Proposed Stipulated Facts) and 6.A (Plaintiffs’
  Proposed Contested Facts) of the Final PTO. See Final PTO (ECF # 133). Notably,
  Plaintiffs do not include any facts whatsoever concerning damages in Sections 3 or 6 of
  the Final PTO and certainly did not disclose at all these new facts concerning alleged
  compensatory damages that are identified in the opposition to the in limine motions. See
  id. Nor do Plaintiffs identify or reference in any way a claim for compensatory damages
  anywhere in the Final PTO. For this reason alone, Plaintiffs should not be permitted to
  adduce these newly minted “facts” and a newfangled theory concerning compensatory
  damages that were not disclosed in the Final PTO. 3

          3
           Federal Rule of Civil Procedure 16(e), provides in relevant part that “[t]he court may
  hold a final pretrial conference to formulate a trial plan, including a plan to facilitate the
  admission of evidence .... The court may modify the order issued after a final pretrial conference
  only to prevent manifest injustice.” Fed.R.Civ.P. 16(e)(emphasis added). Under Rule 16(e), “the
  standard is ... stringent, and final pretrial orders are binding on the parties in the absence of a
  showing of manifest injustice.” Pharmaceutical Sales and Consulting Corp. v. J.W.S. Delavau
  Co., Inc., 59 F.Supp.2d 408, 411 (D.N.J. 1999); see also Petree v. Victor Fluid Power, Inc., 831
  F.2d 1191, 1194 (3d Cir. 1987) (“The finality of the pretrial order contributes substantially to
  the orderly and efficient trial of a case.”). “The parties are bound by their agreement to so limit
  issues and may not introduce at trial issues excluded in the pretrial order.” Randolph County v.
  Alabama Power Co., 784 F.2d 1067, 1072 (11th Cir. 1986); see also United States v. Pottorf,



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          b.   The Newly Disclosed “Facts” do not Give Rise to a
               Claim for Damages in Any Event

          The deposition excerpts presented as Exhibits A and B tell part but not all of the
  story concerning Plaintiffs’ acquisition and loss of $300,000 due to circumstances that were
  wholly of their own making having nothing to do with the alleged actions of Live Nation;
  consequently, excluding these facts would not result in “manifest injustice.”

          Indeed, the full factual record (which was before the Court on Live Nation’s motion
  for summary judgment (ECF # 73)) reveals that one of Plaintiffs’ collaborators on the
  Event, John Sandberg, obtained $300,000 for the Event from a couple from Hackensack,
  John and Georgianne Chiusolo. See ECF # 73 (Marx Cert. Ex. 14 (February 16, 2011
  Promissory Note between John Sandberg, Dorfman, Barrett, Juice Entertainment and the
  Chiusolos); see also Marx Cert. Ex. 3 (Dorfman Dep. at 151:23-152:15, testifying that
  Sandberg had obtained $300,000 from John Chiusolo); id. at 224:23-225:9, testifying that
  the Chiusolos were to receive 25% of Juice Entertainment’s net profit in addition to the
  return of the $300,000 investment). Plaintiffs then lost about half of the Chiusolo money
  almost immediately. As Sandberg explained it, on or around March 1, 2011, he had been
  put in contact with someone named Jasmine Adams (a.k.a. “Bella Chanel”), who purported
  to be an agent for some prominent hip-hop artists. See id Marx Cert. Ex. 16 (March 27,
  2011 e-mail from Sandberg to Barrett and Dorfman). According to Sandberg, Ms.
  Adams/Chanel asked him to wire her $131,750, which he did. Realizing he had been
  scammed, Sandberg asked for the money back, but to no avail. Id.; see also Marx Cert.
  Ex. 3 (Dorfman Dep. at 232:5-11, testifying that “we lost the vast majority of the
  [$300,000] … in a scam.”); Marx Cert., Ex. 1 (Barrett Dep. at 239:22-240:6: Q: “That
  money was just lost?” A: “To the best of my knowledge, lost, yes.” Q: “And whoever it
  was wired to took the money?” A: “Yes.”). Although the Chiusolos’ investment had
  been specifically earmarked, Plaintiffs used what remained of it after the Adams/Chanel
  incident for unrelated “business expenses.” Marx Cert. Ex. 3 (Dorfman Dep. at 235:1-4).
  Those included putting on “an event right down the road [from the Meadowlands] in the
  swamp in Carlstadt” featuring the infamous actor, Charlie Sheen. Id. at 235:4-13.
  Plaintiffs paid Sheen $55,000 out of the Chiusolo money. Marx Cert. Ex. 1 (Barrett Dep.
  at 241:4-5, confirming that part of the Chiusolo money was used to pay Sheen). 4

  881 F.Supp. 482, 485 (D.Kan. 1995) (“It is proper to exclude from a case any issue not contained
  in the pretrial order, whether it be a defense or a theory of recovery advanced by the plaintiffs,
  absent the requisite showing.”). Here, for the reasons explained, below, there is no “manifest
  injustice” in precluding Plaintiffs from offering facts that would not give rise to a compensable
  claim.
  4
   The Chiusolos never got their $300,000 back. See ECF # 73 (Marx Cert. Ex. 3 (Dorfman Dep.
  at 238:16-20, testifying that the Chiusolos were never repaid “because the event never took place.



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  Consequently, Plaintiffs were not “damaged” in any way by their alleged expenditure of
  $300,000; these funds (which were not Plaintiffs in the first place) were admittedly and
  beyond dispute lost due to Plaintiffs’ own actions without regard to any actions of Live
  Nation and evidence concerning this subject is therefore irrelevant and inadmissible. See
  F.R.E. 103, 104. 5

                                        *       *       *
          For the foregoing reasons, Live Nation respectfully requests leave to file a reply
  brief in further support of its motions in limine or, alternatively, that the Court grant leave
  nunc pro tunc and that this submission be considered as the reply.
                                                 Respectfully submitted,
                                                 GREENBERG TRAURIG, LLP
                                                 /s/ Ian S. Marx
                                                 IAN S. MARX
  ISM/dad
  cc: All Counsel via ECF




  We didn’t have the money to repay them.”); Marx Cert. Ex. 1 (Barrett Dep. at 243:15-21,
  testifying that, by May 31, 2011, only $242.36 was left from the Chiusolos’ money). The
  Chiusolos ultimately sued Plaintiffs for the $300,000. Marx Cert. Ex. 3 (Dorfman Dep. at 54:22-
  55:11, testifying that John Chiusolo has sued him over the money he loaned for the Event and
  never got back); id. at 238:25-239:9, acknowledging that the Chiusolos had caused legal papers
  to be delivered to his house regarding the $300,000)).
          5
           Nor have Plaintiffs explained in any way how their alleged expenditures of $3,705.07
  referenced in Exhibit C of the Smith Certification (comprised of a legal invoice for $750, an
  invoice for services from DJ Ricardo for $340, a receipt for flights, hotel and car rental for
  $1,565.07 and an email that appears to be about website services for $300) are appropriately
  considered as evidence of damages for which Live Nation is liable.


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